Case 1:19-cv-00056-RBJ Document 32-1 Filed 03/06/19 USDC Colorado Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


Civil Action No. 1:19-cv-00056-RBJ

DATA SCAPE LIMITED,


        Plaintiff,

v.

AMAZON.COM, INC., and
AMAZON DIGITAL SERVICES, LLC,

        Defendant(s).


                       ORDER GRANTING UNOPPOSED MOTION FOR
                     EXTENSION OF TIME TO RESPOND TO COMPLAINT


        THIS MATTER comes before the Court on the Unopposed Motion of Defendants

Amazon.com, Inc. and Amazon Digital Services, LLC for Extension of Time to Respond

to Complaint.

        Being fully advised, having reviewed the file, and finding good cause shown, the

Court hereby GRANTS the Motion. Defendants’ deadline to respond to the complaint is

hereby extended up to and until April 12, 2019.



     Dated this ___ day of _______________, 2019.

                                                  BY THE COURT

                                                  ________________________________
                                                  R. Brooke Jackson
                                                  United States District Judge


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